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                              February 12, 2019
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                              Hon. Elizabeth A. Wolford
david@rothenberglawyers.com   United States District Judge
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                              Kenneth B. Keating Federal Building
                              100 State Street
                              Rochester, New York 14614

                              Re:     United States v. Alexander Green, et ano.
                                      14-cr-6038


                              Dear Judge Wolford:

                              I am writing to request permission for Alex Green to travel from San Francisco to
                              New York City on February 17, 2019, returning to San Francisco on February 25.
                              The purpose of the trip is to meet with Steve Ross, the CEO of Related to discuss a
                              Symmetry Labs project they have been working on for almost one year. Mr. Green
                              will be staying at 85 North 3rd Street, #507, Brooklyn, New York 11249.

                              Probation officers Josh Libby and Nicholas Bavaria and AUSA Sean Eldridge have
                              no objection to this proposed travel.

                              Thank you for your consideration of this request.


                              Respectfully,

                              David Rothenberg
                              David Rothenberg

                              DR/be


                              cc:     Sean Eldridge, AUSA [sean.eldridge@usdoj.gov]
                                      Nicholas Bavaria, USPO [nicholas_bavaria@nywp.uscourts.gov]
                                      Josh Libby, USPO [josh_libby@canpt.uscourts.gov]
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                                                                                      Dated: February 12, 2019
